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                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                       TEL. 504-310-7700
CLERK                                                            600 S. MAESTRI PLACE,
                                                                         Suite 115
                                                                NEW ORLEANS, LA 70130

                              April 27, 2023


Mr. Jeffrey N. Pomerantz
Pachulski Stang Ziehl & Jones, L.L.P.
10100 Santa Monica Boulevard
13th Floor
Los Angeles, CA 90067

Mr. Davor Rukavina
Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street
Ross Tower
Suite 3800
Dallas, TX 75201-6659

      No. 23-90013       NexPoint Advisors v. Highland Capital
                         USDC No. 19-34054


Dear Mr. Pomerantz, Mr. Rukavina,
Bankruptcy Creditor Disclosure Requirements
The parties are directed within fourteen (14) days from the date
of this notice to submit a Bankruptcy Creditor Disclosure. You are
required to disclose the identity of: (1) the debtor; (2) the
members of the creditor’s committee; (3) any entity that is an
active participant in the proceeding before the Fifth Circuit; (4)
any other entity known to the declarant whose stock or equity value
could be substantially affected by the outcome of the proceeding;
and (5) counsel to the parties/entities identified in (1)-(4).
Please submit this disclosure electronically using the "Creditor
Disclosure Statement" event.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk

                                   By: _________________________
                                   Lisa E. Ferrara, Deputy Clerk
                                   504-310-7675
cc:
